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          Exhibit E
         6:19-cv-02980-HMH                Date Filed 06/11/20     Entry Number 26-5       Page 2 of 27




                                            CARRIER HISTORY
                                                     for
                                           Southern.Insulation, Inc.
                                            207 Bumcombe Road
                                                PO Box 3785
                                            Greenville, SC 29609
                                             FEIN #570483259

Policy Dates                          Carrier                             CC#            Policy#
   2-26-68 - 2-26-70                  Continental Insurance Company       253            WCl 121463
                                                                                         WC2119945

   2-26-70 - 2-26-76                  Potomac Insurance Co. of 111inois       111        U454500
                                                                                         U475876
                                                                                         U511293
                                                                                         U559148
                                                                                         U577442
                                                                                         U623988

   2-26-76 - 2-25-87                  Royal Globe Insurance Company            73        PCS902335
                                                                                         PCS133093

   2-25-87 - 3-14-89                  United States Fidelity & Guaranty Co. 86           1506296874
                                                                                         1506296882

   3-14-89 -      12-15-90            Fidelity & Casualty Company of NY        40        54C873967589C
                                                                                         28C877560290C
 12-15-90 - 2-12-91                   Gap in Coverage

   2-12-91   - 2-12-92                Fidelity & Casualty Company of NY        40        28C879735691B

   2-12-92 - 2-26-92                  Gap in Coverage

   2-26-92 -      10-18-92            United States Fidelity & Guaranty Co.     86       1107240921


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                                                \                                    SouthernInsulation000768
            6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5   Page 3 of 27

PQI0320M           NATIONA   OUNCIL ON COMPENSATION I       CE                           01/06/00
PO                   PROOF OF COVERAGE - POLICY INFORMATION                              15:39:39


POLICY 110724092 1              CARRIER 10847           EFF DT 02/26/92       EXP DT 02/26/93
INSURED NAME SOUTHERN INSULATION INC                    RCV DT 03/23/92       ASSGN/VOL? A

ADDRESS      POB 3785
             GREENVILLE                               SC 29609
LEGAL STATUS CORPORATION             FEDERAL ID       570483259    EMP LEASING


CARRIER    UNITED STATES FIDELITY    &   GUARANTY CO
           CHARLOTTE                     NC

GOV CLASS CD 5183                              DOC RCV DT 04/24/92
COVERAGE TYPE POLICY                           DOC ID     0126


MULTI-STATE? YES       ADDL NAMES? YES         ADDL LOCS? YES         CRNS? YES

NEXT FUNCTION : CA              (KE, QU, ST, NA, LO, CA, FUNC)
NAME :                              POLICY:                               FED ID:




                                                                    SouthernInsulation000769
           6:19-cv-02980-HMH    Date Filed 06/11/20   Entry Number 26-5    Page 4 of 27

PQI0360M             NATION   COUNCIL ON COMPENSATION      RANCE                          01/06/00
CA               PROOF OF COVERAGE - CANCEL/REINSTATE/NON-RENEW  DATA                     15:39:45

POLICY 110724092 1              CARRIER 10847           EFF DT 02/26/92       EXP DT 02/26/93
INSURED NAME SOUTHERN INSULATION INC                    RCV DT 03/23/92

 ISSUE      EFFECTIVE          RECEIVE        TRANS             CANCEL
 DATE         DATE              DATE          TYPE              TYPE              REASON

09/15/92    09/27/92           09/18/92       CANCELLED         SHORT RT          OTHER
09/15/92    10/17/92           09/18/92       CANCELLED         SHORT RT          INSURE REQS




 NEXT FUNCTION                   (KE, QU, PO, ST, NA, LO, FWD, BWD, FUNC)
 NAME :                              POLICY:                     FED ID:
- LAST PAGE -




                                                                    SouthernInsulation000770
           6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5   Page 5 of 27

PQI0340M          NATIONA   OUNCIL ON COMPENSATION I   RANCE                            01/06/00
NA                   PROOF OF COVERAGE - ADDITIONAL NAMES                               15:39:58

POLICY 1107240921               CARRIER 10847           EFF DT 02/26/92      EXP DT 02/26/93
INSURED NAME SOUTHERN INSULATION INC                    RCV DT 03/23/92

ADDITIONAL INSURED NAME                                           FEDERAL ID
DELTA MECHANICAL INC




 NEXT FUNCTION                 (KE, QU, PO, ST, LO, CA, FWD, BWD, FUNC)
 NAME :                            POLICY:                     FED ID :
- LAST PAGE -




                                                                   SouthernInsulation000771
                6:19-cv-02980-HMH    Date Filed 06/11/20     Entry Number 26-5     Page 6 of 27




!?QI0320M           NATIONAL COUNCIL ON COMPENSATION INSURANCE                   09/23/97
PO                    PROOF OF COVERAGE - POLICY INFORMATION                     15:57:39

POLICY 28C879735691B            CARRIER 10332       EFF DT 02/12/91    EXP DT 02/12/92
INSURED NAME SOUTHERN INSULATION INC                RCV DT 03/12/91    ASSGN/VOL? A
ADDRESS      PO BOX 3785
             GREENVILLE                          SC 29609
LEGAL STATUS CORPORATION            FEDERAL ID   570483259

CARRIER FIDELITY & CASUALTY COMPANY OF. ..NEW YORK
        GLENS FALLS           ~-·NY

GOV CLASS CD 5183
                             ...           DOC RCV DT 03/18/91
COVERAGE TYPE POLICY                       DOC ID     0050

MULTI-STATE? NO       ADDL NAMES? YES      ADDL LOGS? YES        CRNS? YES

NEXT FUNCTION                  (KE, QU, ST, NA, LO, CA, FUNC)
NAME:                              POLI CY :                       FED ID :
                                                   167.7.10.164     15:57:33




                                                                              SouthernInsulation000772
                6:19-cv-02980-HMH      Date Filed 06/11/20       Entry Number 26-5      Page 7 of 27




 l?QI0360M            NATIONAL COUNCIL ON COMPENSATION INSURANCE                       09/23/97
 CA               PROOF OF COVERAGE - CANCEL/REINSTATE/NON-RENEW DATA                  15:57:51

 POLICY 28C879735691B            CARRIER 10332 EFF DT 02/12/91               EXP DT 02/12/92
 INSURED NAME SOUTHERN INSULATION INC          RCV DT 03/12/91
  ISSUE         EFFECTIVE    RECEIVE         TRANS               CANCEL
  DATE            DATE        DATE           TYPE                TYPE           REASON

 12/19/91       02/12/92     12/23/91        NON-RENEW




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NEXT FUNCTION                  (KE, QU, PO, ST, NA, LO, FWD, BWD, FUNC)
NAME:                              POLICY :                    'FED ID :
- LAST PAGE -
                                                           167.7.10.164   15:57:46




                                                                                 SouthernInsulation000773
            6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5   Page 8 of 27

PQI0320M           NATIONA   OUNCIL ON COMPENSATION I   RANCE                            01/07/00
PO                   PROOF OF COVERAGE - POLICY INFORMATION                              15:06:41


POLICY 28C877560290C            CARRIER 10332            EFF DT 03/29/90      EXP DT 03/29/91
INSURED NAME SOUTHERN INSULATION INC                     RCV DT 05/04/90      ASSGN/VOL? A

ADDRESS      2507 BUNCOMBE RD
             GREENVILLE                               SC 29609
LEGAL STATUS CORPORATION             FEDERAL ID       570483259     EMP LEASING


CARRIER    FIDELITY & CASUALTY COMPANY OF NEW YORK
           GLENS FALLS              NY

GOV CLASS CD 5183                               DOC RCV DT 05/23/90
COVERAGE TYPE POLICY                            DOC ID     0005


MULTI-STATE? YES       ADDL NAMES? NO           ADDL LOCS? YES        CRNS? YES

NEXT FUNCTION                    (KE, QU, ST, NA, LO, CA, FUNC)
NAME :                               POLICY:                              FED ID:




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           6:19-cv-02980-HMH    Date Filed 06/11/20   Entry Number 26-5   Page 9 of 27

PQI0360M             NATION   COUNCIL ON COMPENSATION     URANCE                         01/07/00
CA               PROOF OF COVERAGE - CANCEL/REINSTATE/NON-RENEW  DATA                    15:06:44

POLICY 28C8775602 90C           CARRIER 10332            EFF DT 03/29/90      EXP OT 03/29/91
INSURED NAME SOUTHERN INSULATION INC                     RCV DT 05/04/90

 ISSUE      EFFECTIVE          RECEIVE        TRANS             CANCEL
 DATE         DATE              DATE          TYPE              TYPE              REASON

11/09/90    10/08/90           11/15/90       CANCELLED         PRO-RATE          NON-PAYMENT




 NEXT FUNCTION                   (KE, QU, PO, ST, NA, LO, FWD, BWD, FUNC)
 NAME:                               POLICY:                     FED ID:
- LAST PAGE -




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PQI0320M           NATIONA   OUNCIL ON COMPENSATION I       CE                               01/07/00
PO                   PROOF OF COVERAGE - POLICY INFORMATION                                  15:05:37


POLICY 54C87396 7589C          · CARRIER 10332            EFF DT. 03/14/89       EXP DT 03/14/90
INSURED NAME SOUTHERN INSULATION  INC                     RCV DT 05/12/89        ASSGN/VOL? A

ADDRESS      2507 BUNCOMBE ROAD
             GREENVILLE                                SC 29609
LEGAL STATUS CORPORATION        FEDERAL ID             57048325 9    EMP LEASING


CARRIER    FIDELITY   &   CASUALTY COMPANY OF NEW YORK
           CRANBURY                     NJ

GOV CLASS CD 5183                                DOC RCV DT 05/12/89
COVERAGE TYPE POLICY                             DOC ID     0000


MULTI-STATE? YES          ADDL NAMES? NO         ADDL LOCS? YES            CRNS? NO

NEXT FUNCTION                     (KE, QU, ST, NA, LO, CA, FUNC)
NAME                                  POLICY:                                FED ID




                                                                      SouthernInsulation000776
            6:19-cv-02980-HMH    Date Filed 06/11/20    Entry Number 26-5         Page 11 of 27



.---------------...o_ldsyfa Policy R e c o r d - - - - - - - - - - - - - - - - .
 0-CMAINT                                                          09/23/97 a
                                                                                 2:42 PM
 Emp Code: 10021663                              Eff: 04/03/89 -
                                              Rev Dt: 03/06/89
Insured: SOUTHERN INSULATION INC
            2507 BUNCOMBE
            GREENVILLE                           SC 29609-          Loaded: 12/06/91
                                                                   Lat Upd: 12/06/91
Cart: 001038    Frame: 3305                   FEI: 000000000

Carr: 00086 US FIDELITY   & GUARANTY   CO

Policy: 1506296874         infol: *         Pol Date: 02/25/87
                                -.
Rec Type: B Report of Cancellat.ion ,-Trans Flag:            Superceded:
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Comments:




PRESS 'R' return to search,     'U' to update ,'F3' for Carrier.
      'E' TO EXIT




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           6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5     Page 12 of 27

PQI0320M           NATIONA COUNCIL ON COMPENSATION I    RANCE                              01/07/00
PO                   PROOF OF COVERAGE - POLICY INFORMATION                                14:06:58


POLICY 1506296882               CARRIER 10847           EFF DT 02/25/88        EXP DT 02/25/89
INSURED NAME SOUTHERN INSULATION INC                    RCV DT 03/29/88        ASSGN/VOL? A

ADDRESS      2507 BUNCOMBE RD
             GREENVILLE                              SC 29609
LEGAL STATUS CORPORATION             FEDERAL ID      NO FED ID     EMP LEASING


CARRIER    UNITED STATES FIDELITY    &   GUARANTY CO
           CHARLOTTE                     NC

GOV CLASS CD 5183                              DOC RCV DT 03/29/88
COVERAGE TYPE POLICY                           DOC ID     0570


MULTI-STATE? YES       ADDL NAMES? NO          ADDL LOCS? NO             CRNS? NO

NEXT FUNCTION                   (KE, QU, ST, NA, LO, CA, FUNC}
NAME :                              POLICY:                                FED ID




                                                                    SouthernInsulation000778
           6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5                            Page 13 of 27

PQI0320M           NATIONA COUNCIL ON COMPENSATION I        CE                                                    01/07/00
PO                   PROOF OF COVERAGE - POLICY INFORMATION                                                       14:05:18


POLICY 1506296874               CARRIER 10847           EFF DT 02/25/87                                  EXP DT 02/25/88
INSURED NAME SOUTHERN INSULA~ION INC                    RCV DT 04/16/87                                  ASSGN/VOL? A

ADDRESS      2507 BUNCOMBE RD
             GREENVILLE                              SC 29609
LEGAL STATUS CORPORATION             FEDERAL ID      NO FED ID                    EMP LEASING


CARRIER    UNITED STATES FIDELITY    &   GUARANTY CO
           CHARLOTTE                     NC

GOV CLASS CD 5183                              DOC RCV DT 00/00/00
COVERAGE TYPE POLICY                           DOC ID     0000


MULTI-STATE? YES       ADDL NAMES? NO          ADDL LOCS? NO                             CRNS? NO

NEXT FUNCTION                   (KE, QU, ST, NA, LO, CA, FUNC)
NAME :                              POLICY:                                                      FED ID




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             6:19-cv-02980-HMH            Date Filed 06/11/20   Entry Number 26-5     Page 14 of 27




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 0-CMAINT                                                                           09/23/97 a
                                                                                     2:43 PM
   Ernp Code: 00000000                                  Eff: 02/26/87 -
                                                     Rev Dt: 11/17/86
 Insured: SOUTHERN INSULATION INC
                   2507 BUNCOMBE RD
                   GREENVILLE                          SC 29609-         Loaded: 12/09/91
                                                                        Lat Upd: 12/09/91
 Cart: 001012 . Frame: 1676                          FEI: 000000000

 Carr: 00359 ROYAL INS     co   OF AMERICA

 Policy: PCS133093               infol:          Pol Date: 02/26/86

 Rec Type: B Report of Cancellation .-Trans
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 Comments:




 PRESS 'R' return to search,           'U' to update ,'F3' for Carrier.
       'E' TO EXIT




                                                                                SouthernInsulation000780
       6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5           Page 15 of 27




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                             6:19-cv-02980-HMH               Date Filed 06/11/20      Entry Number 26-5   Page 16 of 27




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                    6:19-cv-02980-HMH                     Date Filed 06/11/20   Entry Number 26-5    Page 17 of 27




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                            REPORT OF COVERAGE - Form "A"
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       6:19-cv-02980-HMH           Date Filed 06/11/20    Entry Number 26-5         Page 18 of 27




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                REPORT OF COVERAGE - Form "A"




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        6:19-cv-02980-HMH       Date Filed 06/11/20    Entry Number 26-5      Page 19 of 27




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              POtoaac                      2-26-73                          U 559148
                 Auuud   southern Insulation, Inc.
             Buncombe Road
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 Glover Brothers, Inc. - Johnson                      &      Johnson Inc., Mgrs.
    049070
               REPORT OF COVERAGE - Form "A"




                                                                         SouthernInsulation000785
                    6:19-cv-02980-HMH                      Date Filed 06/11/20          Entry Number 26-5                                 Page 20 of 27




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                                                      South ern Insul ation , Inc.

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          6:19-cv-02980-HMH                  Date Filed 06/11/20       Entry Number 26-5                Page 21 of 27




                                 Potalllac:                  2-26-71             2-26-71
        s. c.        ~           Southern Insulation,, Inc.
        2507 Bun...."""'11a.n:1 Road                  ~ ··
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    "Glover Brother. Inc. 049070
     Johnson & Johnson Inc., Mgra.

.~8~2~'------------  REPORT OF ENDORSEMENT                       - Form "C"
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         6:19-cv-02980-HMH                Date Filed 06/11/20        Entry Number 26-5              Page 22 of 27




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                          REPORT OF COVERAGE - Form "A "




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         6:19-cv-02980-HMH                       Date Filed 06/11/20   Entry Number 26-5      Page 23 of 27




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               6:19-cv-02980-HMH                Date Filed 06/11/20                                                              Entry Number 26-5     Page 24 of 27




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         6:19-cv-02980-HMH       Date Filed 06/11/20   Entry Number 26-5   Page 25 of 27




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                 REPORT OF COVERAGE - Form "A"




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                  6:19-cv-02980-HMH                    Date Filed 06/11/20                Entry Number 26-5                   Page 26 of 27




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                               REPORT OF COVERAGE -Form ,,.A"




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6:19-cv-02980-HMH   Date Filed 06/11/20   Entry Number 26-5   Page 27 of 27




         REPORT OF COVERAGE . Form "A"




                                                         SouthernInsulation000793
